Case 0-20-06040-asT

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1040 (Form 1040) (12/15)

 

ADVERSARY PROCEEDING COVER SHEET

(Instructions on Reverse)

ADVERSARY PROCEEDING NO.

 

 

PLAINTIFF(S)

Howard M. Ehrenberg, as liquidating Trustee of the jointly
administered Bankruptcy Estates of Orion HealthCorp, Inc. and
Constellation Healthcare Technologies, Inc.

DEFENDANT(S)

John Johnston, David Andrew Clark, Moshe “Mark” Menachem Feuer, Sir Rodney Malcolm
Aldridge, Shawn H. Zimberg, Joseph A. Seale, Truc To, John Esposito, Mark Bellisimo,
GCliona Sotiropoulos, Arvind Walia, Dale Brinkman, Melodie Kraljev, and Alon P. Baram

 

ATTORNEY(S) (Firm Name, Address, Telephone No.)

Christopher A. Lynch
Benjamin R. Fliegel

REED SMITH LLP

599 Lexington Ave, 22nd Floor
New York, New York 10022
Telephone: (212) 521-5400

ATTORNEY(S) (If Known)

 

PARTY (Check One Box Only)
Debtor U.S. Trustee

[_] Creditor Trustee [] Other

 

PARTY (Check One Box Only)
Debtor U.S. Trustee

[| Creditor [_] Trustee Other

 

CAUSE OF ACTION (Write a brief statement of cause of action, including all U.S. statutes involved.)

Debtors through the liquidating Trustee, Howard M. Ehrenberg, allege causes of action for breach of fiduciary
duty and negligence against Debtors’ former directors and officers due to their failure to operate Debtors

consistent with their fiduciary duties.

 

NATURE OF SUIT
(Number up to 5 boxes with the lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

 

FRBP 7001(1) — Recovery of Money/Property
[_] 11 - Recovery of money/property - § 542 turnover of property
[_]12- Recovery of money/property - § 547 preference
[_]13-— Recovery of money/property - § 548 fraudulent transfer
V1 14- Recovery of money/property — other

FRBP 7001(2) — Validity, Priority or Extent of Lien
CJ21- Validity, priority or extent of lien or other interest in property

FRBP 7001(3) — Approval of Sale of Property
31 — Approval of sale of property of estate and of a co-owner - § 363(h)

FRBP 7001(4) — Objection/Revocation of Discharge
[a1- Objection/revocation of discharge - § 727(c), (d), (e)

FRBP 7001(5) — Revocation of Confirmation
51- Revocation of confirmation

FRBP 7001(6) — Dischargeability
Ces - Dischargeability - § 523(a)(1), (14), (14A) priority tax claims
(J62- Dischargeability - § 523(a)(2), false pretenses, false representation,
actual fraud
(67 - Dischargeability - § 523(a)(4), fraud as fiduciary, embezzlement,
larceny
(continued next column)

FRBP 7001(6) — Dischargeability (continued)

(J61- Dischargeability - § 523(a)(5), domestic support

(les - Dischargeability - § 523(a)(6), willful and malicious injury

163 - Dischargeability - § 523(a)(8), student loan

Clea — Dischargeability - § 523 (a)(15), divorce or separation obligation
(other than domestic support)

[les — Dischargeability — other

FRBP 7001(7) — Injunctive Relief
[171 - Injunctive relief — imposition of stay
C172 — Injunctive relief — other

FRBP 7001(8) — Subordination of Claim or Interest
CJs1- Subordination of claim or interest

FRBP 7001(9) — Declaratory Judgment
CJ91- Declaratory judgment

FRBP 7001(10) — Determination of Removed Action
[-]01 - Determination of removed claim or cause

Other

Css-sipa Case —15 U.S.C. §§ 78aaa et seq.

lo2 — Other (e.g.,other actions that would have been brought in state court
if unrelated to bankruptcy case)

 

[7] Check if this case involves a substantive issue of state law

LJ Check if this is asserted to be a class action under FRCP 23

 

(1 Check if a jury trial is demanded in complaint

 

Demand: $ Excess of $10,000,000

 

 

Other Relief Sought:

 

 
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BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

 

NAME OF DEBTOR BANKRUPTCY CASE NO.
Orion HealthCorp, Inc.; Constellation Healthcare Technologies, Inc. | g_48_74748-ast et al

 

 

 

 

 

 

 

 

 

DISTRICT IN WHICH CASE IS PENDING DIVISION OFFICE NAME OF JUDGE

Eastern District of New York Central Islip Hon. Alan S. Trust
RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF DEFENDANT ADVERSARY PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY PROCEEDING IS PENDING DIVISION OFFICE NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF) PRINT NAME OF ATTORNEY (OR PLAINTIFF)

Christopher A. Lynch
/s/ Christopher A. Lynch

 

 

DATE
03/13/2020

 

 

INSTRUCTIONS

The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of
the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet. When completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of
court needs the information to process the adversary proceeding and prepare required statistical reports on court
activity.

The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or
other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
explanatory, must be completed by the plaintiff's attorney (or by the plaintiff, if the plaintiff is not represented by an
attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.
Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.
Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the

plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.

 
